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                   THE UNITED STATES DISTRICT COURT FOR
                      THE SOUTHERN DISTRICT OF OHIO
                             EASTERN DIVISION


   JOHN DOE 162, et al.,                      Case No. 2:23-cv-00291

                   Plaintiffs,                Judge Michael H. Watson

       v.                                     Magistrate Judge Elizabeth P. Deavers

   THE OHIO STATE UNIVERSITY,

                   Defendant.


   STEVE SNYDER-HILL, et al.,                 Case No. 2:23-cv-02993

                   Plaintiffs,                Judge Michael H. Watson

       v.                                     Magistrate Judge Elizabeth P. Deavers

   THE OHIO STATE UNIVERSITY,

                   Defendant.


   WILLIAM KNIGHT, et al.,                    Case No. 2:23-cv-02994

                   Plaintiffs,                Judge Michael H. Watson

       v.                                     Magistrate Judge Elizabeth P. Deavers

   THE OHIO STATE UNIVERSITY,

                   Defendant.

                                              Case No. 2:23-cv-2996
   JOHN DOE.,
                                              Judge Michael H. Watson
                   Plaintiff,
       v.                                     Magistrate Judge Elizabeth P. Deavers

   THE OHIO STATE UNIVERSITY,

                   Defendant.
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                                                          Case No. 2:23-cv-3051
    EDWARD GONZALES, et al.,
                                                          Judge Michael H. Watson
                       Plaintiffs,
         v.                                               Magistrate Judge Elizabeth P. Deavers

    THE OHIO STATE UNIVERSITY,

                       Defendant.

              PLAINTIFFS’ JOINT REPLY REGARDING AVAILABILITY OF
                         EMOTIONAL DISTRESS DAMAGES

        Plaintiffs stand on the arguments submitted in their opening brief (ECF #73). Emotional

 distress damages are available because: 1) Title IX springs not just from the Spending Clause, but

 from the Fourteenth Amendment’s mandate for equal protection for all under our laws; 2) schools

 like OSU had ample notice they could be sued for Title IX emotional distress damages for over 30

 years; 3) disallowing these damages will undermine Title IX’s purpose; and 4) courts may fashion

 any equitable remedies they see fit. While defendants after Cummings raised the specter of these

 types of damages no longer being available under Title IX, Cummings did not address or disturb

 any other cognizable damage category. Cummings v. Premier Rehab Keller, P.L.L.C., 596 U.S.

 212, 221 (2022) (even under just the Spending Clause, “the usual contract remedies in private

 suits,” including compensatory damages). Plaintiffs will not reiterate arguments on the points

 above but will simply respond to propositions raised by OSU in its Response.

        Plaintiffs also write to note that OSU’s response exceeds the scope of the Court’s ordered

 briefing. Per the Court’s order, the Plaintiffs were instructed to file a brief “explaining how

 emotional distress damages are available in these cases notwithstanding the Supreme Court's

 decision in Cummings v. Premier Rehab Keller, PLLC, 596 U.S. 212 (2022) and the Sixth Circuit's

 later decision in S.C. v. Metro. Gov't of Nashville, 86 F.4th 707 (6th Cir. 2023).” Case Management

 Order 3 at 3 (July 1, 2024). OSU uses its response to invite the Court to rule on the availability of


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 a far broader range of damages. Plaintiffs will not take the bait. That is not the topic of the instant

 briefing, and such a broad ruling would be premature before discovery.

        Consistent with the Court’s order, the Plaintiffs file a single brief, even though one group

 of Plaintiffs joins only one part. The Snyder-Hill Plaintiffs did not join the opening brief because

 they are not seeking emotional distress damages, and do not join most of this brief. However,

 because OSU’s response addresses issues beyond the Court-ordered topic of briefing, and because

 those issues will affect the Snyder-Hill Plaintiffs, they join Part III of this brief, which addresses

 the scope of the question before this Court.


 I.     Congress relied on—at least, in part—the Fourteenth Amendment to enact Title IX,
        thus opening the door to all tort damages such as emotional distress damages.

        Two things can be true. Congress can derive power to enact legislation from Fourteenth

 Amendment and the Spending Clause. 1 The Supreme Court expressly punted on the issue of

 whether the Fourteenth Amendment also gives Congress the power to enact Title IX. See Franklin

 v. Gwinnett Cnty. Pub. Schs., 503 U.S. 60, 75 n.8 (1992). Since Cummings, no federal appellate

 court has held that Title IX was solely Spending Cause legislation. Instead, the only Circuit Court

 of Appeals post-Cummings to examine Title IX’s origination as Fourteenth Amendment legislation

 explicitly found “Congress passed Title IX pursuant to its power to enforce the Fourteenth

 Amendment to combat gender discrimination in education….” Ng v. Bd. of Regents of Univ.

 of Minn., 64 F.4th 992, 998 (8th Cir. 2023) (emphasis added) (cleaned up).

        OSU conclusory statement that S.C. addressed this Fourteenth Amendment issue fails to

 explain how S.C.’s statement about Title IX being a Spending Clause statute is anything more than



 1
  See Crawford v. Davis, 109 F.3d 1281, 1283 (8th Cir. 1997); Prinsloo v. Ark. State Univ., 112
 F.3d 514 (8th Cir. 1997) (affirming Crawford).


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 dicta. See OSU Br., ECF No. 79 at PageID 1216. OSU never addresses how the Sixth Circuit made

 that statement in reaching its ultimate conclusion. Nor does it undermine the issue that the Sixth

 Circuit lacked arguments against applying Cummings to Title IX cases. As such, it fails to

 meaningfully explain why S.C.’s statement is a binding holding from the Sixth Circuit. S.C. simply

 never addressed Title IX in the context of the Fourteenth Amendment at all.

         This holding in Ng matches what the Sixth Circuit held previously in Franks v. Kentucky

 School for the Deaf. 142 F.3d 360, 363 (6th Cir. 1998). OSU tries to minimize Franks by noting

 that this case was about whether Congress validly abrogated states’ sovereign immunity when it

 enacted Title IX. OSU Br., ECF No. 79 at PageID 1217. Franks concluded that Congress had

 validly done so because it used its powers under the Fourteenth Amendment to abrogate states’

 sovereign immunity. Franks v. Ky. Sch. for the Deaf, 142 F.3d 360, 363 (6th Cir. 1998). This

 reasoning powers Plaintiffs’ argument that Title IX—unlike the Rehabilitation Act and the ACA

 at issue in Cummings—has the tort remedies widely recognized to be available from other

 legislation that relies on the Fourteenth Amendment—including emotional distress damages. See

 Ellison v. Balinski, 625 F.3d 953, 959 (6th Cir. 2010). The fact that Franks made that Fourteenth

 Amendment pronouncement when evaluating a sovereign immunity argument doesn’t undermine

 its applicability here, rather it confirms it.

         As Cummings’ holding emphasizes, the Spending Clause allows Congress to enact laws to

 dole our federal funds in exchange of imposed conditions. Cummings, 596 U.S. at 217–18, U.S.

 Const. art. I, § 8, cl. 1; see also Nat'l Fed'n of Indep. Bus. v. Sebelius, 567 U.S. 519, 576, 132 S.

 Ct. 2566, 2601, 183 L. Ed. 2d 450 (2012). But the Fourteenth Amendment ensures citizens are

 afforded equal protection under our laws and prevents states (and any public entity, like a

 university, an arm of the state) from depriving citizens of these rights. U.S. Const. amend. XIV;



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 Plyler v. Doe, 457 U.S. 202 (1982). As Ng found, Title IX springs from this very ideal—for the

 purpose of protecting students on college campuses from discrimination based on sex. See 20

 U.S.C. § 1681(a). Cummings addressed a breach of contract framework under Spending Clause

 legislation. Title IX’s focus on protecting individuals from discrimination requires a more

 expansive interpretation of damages to effectuate the statute’s goals.

        In other words, Cummings did not consider the scenario of a Title IX claimant, and simply

 considered Defendants in a case arising from the Rehabilitation Act/Affordable Care Act or other

 explicit Spending Clause claims. It painted broad brush strokes attempting to limit damages only

 based on the defendant’s state of mind on notice of damages that arise from Spending Clause

 statutes but did so without considering Fourteenth Amendment jurisprudence and other authority

 that set the stage for Title IX as a specific statutory mechanism to ferret out sex-based

 discrimination in education. Considering the Fourteenth Amendment leads to the conclusion that

 Title IX plaintiffs can recover emotional distress damages. 2

 II.    Evaluating the purpose and spirit of Title IX is critical to determine the available
        damages.

        Even if Cummings applies to Title IX cases, schools may still be found liable for emotional

 damages for the reasons Plaintiffs explained in their opening brief. Unequivocally, schools must

 understand the full implications of accepting federal funding under Title IX, which includes

 compliance with anti-discrimination mandates that, if violated, can result in compensatory

 damages for plaintiffs. The contract at issue, created to effectuate Title IX’s goals, mandated OSU

 to take on certain duties to protect its students from discrimination based on sex, including sexual


 2
  And it’s worth noting that the case OSU primarily relies on for its proposition about the origin
 of Title IX being the Spending Clause, Doe 1 v. Curators of Univ. of Missouri, No. 19-CV-04229-
 NKL, 2022 WL 3366765 (W.D. Mo. Aug. 15, 2022), is a District Court case, but Ng is binding as
 Eighth Circuit precedent.


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 abuse, in exchange for millions of dollars in federal funds. This agreement was entered into for the

 sole benefit of the students, the Plaintiffs in this case, who went to college to get an education, get

 prepared for careers, learn how to live on their own and other life skills, perhaps play a sport they

 loved collegiately, and to form lifelong friendships and relationships. In essence, the government

 paid OSU to ensure that its students were afforded these opportunities through equal protection

 under the law.

        But OSU robbed Plaintiffs of these experiences. It turned a blind eye to a rampant sexual

 predator it employed for two decades, allowing him carte blanche to drug, sodomize, masturbate,

 fondle, grope and gawk at hundreds (likely thousands) of male students. When confronted with

 the fact that OSU deliberately and knowingly robbed them of equal protection under the law, the

 students who survived Dr. Strauss’s abuse brought suit to recoup their damages that were caused

 because OSU failed to uphold its bargain. The private right of action afforded to them via Title IX,

 20 U.S.C. § 1681(a), and expressly provided in subsequent case law in Cannon, Franklin, and their

 progeny, gives claimants the right to collect all money damages available to any other third-party

 beneficiary to a contract. Cannon v. University of Chicago, 441 U.S. 677, 99 S.Ct. 1946, 60

 L.Ed.2d 560 (1979); Franklin v. Gwinnett Cnty. Pub. Schs., 503 U.S. 60, 76 (1992). These

 damages must make the aggrieved party whole again and include all the ordinarily available

 contract damages. 3 Barnes v. Gorman, 536 U.S. 181, 187 (2002) (“[W]e have held that under Title

 IX, . . . a recipient of federal funds is nevertheless subject to suit for compensatory damages and

 injunction, forms of relief traditionally available in suits for breach of contract.” (citations

 omitted)). To make these plaintiffs whole, emotional distress damages should be allowed.


 3
   At the very least, OSU should disgorge to Plaintiffs all federal money accepted by OSU in
 exchange for upholding their Title IX obligations, but ultimately wasted because it failed to protect
 its students from sexual assaults.


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 III.   The availability of damages other than emotional distress is not a question before this
        Court.

        OSU’s response addresses issues beyond the Court-ordered topic of briefing. Because

 those issues will affect the Snyder-Hill Plaintiffs, they joint this one part of the brief, which

 addresses the scope of the legal question before this Court. 4

        In July, this Court ordered Plaintiffs to file a brief “explaining how emotional distress

 damages are available in these cases notwithstanding the Supreme Court's decision in Cummings

 v. Premier Rehab Keller, PLLC, 596 U.S. 212 (2022) and the Sixth Circuit's later decision in S.C.

 v. Metro. Gov't of Nashville, 86 F.4th 707 (6th Cir. 2023).” Case Management Order 3 at 3 (July

 1, 2024). That was the topic of the brief filed by the other Plaintiff groups. See Gonzales v. The

 Ohio State Univ., 2:23-cv-3051, ECF No. 73 (S.D. Ohio).

        OSU’s response extends beyond the Court-ordered topic of this briefing: It seeks a ruling

 that other categories of damages, beyond emotional distress, are also unavailable. For example,

 OSU argues that “Plaintiffs additionally cannot recover any other form of damages that resembles

 emotional distress damages or is speculative, indeterminate, or unforeseeable.” OSU’s Br. at 10

 (ECF 79 at PageID 1215) (emphasis added). And it asks the Court to “hold [both] that (1)

 emotional distress damages are . . . unavailable to plaintiffs here”—the proper topic of this

 briefing—“and (2) damages that are ‘in sum and substance’ emotional distress damages and/or


 4
   On the one legal question before this Court, the Snyder-Hill Plaintiffs are differently situated
 from the other Plaintiffs because they are not seeking emotional distress damages and so did not
 foresee participating in this briefing in any form. Because OSU’s strayed from the scope of Court’s
 order raises questions that would implicate the remedies available to the Snyder-Hill Plaintiffs,
 they were compelled to join this portion of the brief to urge the Court to limit its ruling to the
 question the Court presented in its July order: whether emotional distress damages are available
 under Title IX.



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 that arise from emotional distress damages . . . , as well as any other indeterminate, speculative,

 and unforeseeable damages . . . are not available to plaintiffs here”—a topic beyond the scope of

 the Court’s order. Id. at 18 (emphasis added).

       The Court should not rule on issues beyond the scope of its July order, which directed briefing

 on the narrow question of “how emotional distress damages are available in these cases.” Case

 Management Order 3 at 3 (July 1, 2024). During discovery, all parties will have the opportunity to

 probe the bounds, types, and determinacy of Plaintiffs’ other damages. After that, OSU will have

 opportunities, in the ordinary course of litigation, to move to foreclose damages it believes are

 unavailable. And at that stage all Plaintiffs, not only those currently pursuing emotional distress

 damages, will respond.

 IV.      It would be premature for this Court to determine what other damages are barred
          prior to discovery.

          OSU wants to go further than the prompt provided by the Court by arguing that specific

 types of damages that are not labeled “emotional distress damages” are also barred by Cummings.

 OSU’s Br. at 10 (ECF 79 at PageID 1215). Because OSU has exceeded the scope of this Court’s

 prompt by raising this argument, the Court can, and should, stop here. See supra Part III. The

 narrow scope of the Court’s posed question is especially appropriate given that broad scope of

 damages potentially available post-Cummings, and the prematurity of assessing the availability of

 such potential damages in any given case prior to discovery.

          Cummings does not purport to limit other types of cognizable injury and certainly does not

 bar recovery of all non-economic damages under the Rehabilitation Act or Title II of the ADA.

 Cummings v. Premier Rehab Keller, P.L.L.C., 596 U.S. 212, 221 (2022). Post-Cummings cases

 show how broad and diverse these injuries can be. In Doe v. University of Kentucky, the Sixth

 Circuit held that Title IX plaintiffs may recover for the discriminatory harm resulting from their


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 injury. 111 F.4th 705, 724 (6th Cir. 2024). Contrary to OSU’s position, Doe did not hold that

 discrimination damages are merely an element of the claim. Rather, the Court held that

 “discrimination damages” are recoverable and thus allow a plaintiff to maintain standing. Id. (“But

 [Defendant University of Kentucky] mischaracterizes Doe’s injury. Doe alleges she was deprived

 “of equal access to the educational benefits and opportunities provided by the University.”). In so

 doing, it cited Justice Kavanaugh’s concurrence in Muldrow v. City of St. Louis and said:

 “Discrimination is itself a harm.” Id. (citing 601 U.S. 346, 365 (2024)).

        District court cases further demonstrate the breadth of potential recoverable damages.

 Courts have found that damages arising from lost opportunities are “entirely appropriate in a

 traditional contract case.” Montgomery v. District of Columbia, 2022 WL 1618741, at *25 (D.D.C.

 May 23, 2022) (citing Restatement (Second) of Contracts § 347 cmt. A (Am. L. Inst. 1981)).

 In Montgomery, a mentally ill plaintiff was incarcerated for 5+ years following multiple

 interrogations by law enforcement, where they not only failed to accommodate his disabilities, but

 took advantage of them to elicit incriminating statements. Montgomery, 2022 WL 1618741, at *1–

 6. In the civil suit that followed, the Court held that he could recover any damages arising from

 “the opportunity he lost when he was denied the ability to meaningfully access and participate in

 his interviews.” Id. at *25; see also Doe v In a Title IX case, these may include lost educational

 opportunities. E.g., Doe v. Fairfax Cnty. Sch. Bd., No. 1:18-cv-614, 2023 WL 424265, at *4-5

 (E.D. Va. Jan. 25, 2023). Courts have held that lost future wages may also be recovered. E.g.,

 Doe v. Loyola Univ. of Chi., No. 18-7335, Doc. 215 (N.D. Ill. Aug. 8, 2024) (finding that lost

 wages from failing to graduate from the plaintiff’s school of choice are recoverable); A.T. v. Oley

 Valley Sch. Dist., No. 17-4983, 2023 WL 1453143, at *4 (E.D. Pa. Feb. 1, 2023) (same, for




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 younger students). The same goes for physical injuries. E.g., B.R. v. F.C.S.B., ___ F. Supp. 3d

 ____, No. , 2024 WL 1254826, *6 (E.D. Va. Feb. 26, 2024).

        Thus, Courts may allow Title IX plaintiffs to pursue damage theories rooted in expectation-

 interest and discriminatory harm and may fashion those remedies appropriately given the facts of

 the case and the resulting breach. Plaintiffs here lost all opportunity to have a meaningful and

 fruitful college experience, following the very first interaction with Strauss, which ultimately

 changed their life trajectories and caused significant, lifelong resulting damages.

        Given all the possible damages available in contract actions, and thus Title IX suits,

 deciding now what damages Plaintiffs can recover is premature. OSU is asking the Court to slam

 the door on recovery of a broad swath of contract damages before discovery has started and—

 perhaps most importantly—expert reports have been exchanged. Courts have refused to decide

 what types of damages are available at early stages because parties typically do not develop the

 exact contour of the damages sought until the end of discovery. See Doe v. Univ. of Va., 2024 WL

 1346913, at *6 (W.D. Va. Mar. 29, 2024) (refusing to decide what damages were available after

 Cummings on a motion to dismiss). This endeavor is best saved for after a full factual record is

 developed so Plaintiffs can fully explain how and why these damage categories fall within the

 traditional categories allowed under contract actions. For example, Plaintiffs intend to show how

 their lost income damages are certainly not “speculative, indeterminate, or unforeseeable” OSU’s

 Br. at 10 (ECF 79 at PageID 1215).

        Once the parties have conducted full fact discovery, disclosed and deposed each other’s

 designated experts, engaged in summary judgment briefing and held bellwether trials, the Court

 may decide if a limitation on damages is appropriate based on a fully developed, rich record. See

 B.R. v. F.C.S.B., ___ F. Supp. 3d ____, No. , 20214 WL 1254826, *4–8 (E.D. Va. Feb. 26, 2024)



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 (extensively reviewing expert reports and other fact discovery to determine what damages plaintiff

 could recover). Indeed, B.R. shows how intensive reviewing categories of damages can be. The

 court there needed to decipher the various categories of damages, review expert reports, and

 evidence produced during discovery. Id. The court could only wade through what damages could

 survive to trial after doing so.

         This issue was not within the scope of the Court’s July order, and the record required to

 evaluate these thorny issues is not before the Court. The Court should not accept OSU’s invitation

 to limit damages beyond emotional distress, the Court-ordered topic of this briefing.

                                               Conclusion

         The Fourteenth Amendment was the primary vehicle for enacting Title IX, and the

 agreement made wherein the school accepted the federal funds in exchange for keeping its students

 free of all forms of sex discrimination was the means for ensuring its goals were met and its

 Congressional intent was carried out. Because this contract was made only for the reason of

 promulgating Title IX’s purpose, for the sole benefit of the people on campus, it stands to reason

 that those people are allowed to recover all the damages that flow from the breach. Plaintiffs

 respectfully ask the Court to allow them to seek all compensatory damages and find that emotional

 distress damages are available.



                                                     Respectfully submitted,


                                                     /s/ Rex A. Sharp
                                                     Rex A. Sharp
                                                     Sarah T. Bradshaw
                                                     Nathan A. Kakazu
                                                     SHARP LAW, LLP
                                                     4820 W. 75th Street
                                                     Prairie Village, KS 66208


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                                             (913) 901-0505
                                             rsharp@midwest-law.com
                                             sbradshaw@midwest-law.com
                                             nkakazu@midwest-law.com

                                             Simina Vourlis (0046689) (Trial Attorney)
                                             The Law Offices of Simina Vourlis
                                             856 Pullman Way
                                             Columbus, OH 43212-3860
                                             Phone: (614) 487-5900
                                             Fax: (614) 487-5901
                                             Email: svourlis@vourlislaw.com

                                             Robert Allard
                                             CERRI BOSKOVICH AND ALLARD, LLP
                                             96 North Third Street, Suite 620
                                             San Jose, CA 95112
                                             (408) 289-1417
                                             (408) 289-8127 fax
                                             rallard@cmalaw.net

                                             Stephen Estey
                                             ESTEY & BOMBERGER LLP
                                             2869 India Street
                                             San Diego, CA 92103
                                             619-295-0035
                                             619-295-0172 fax
                                             steve@estey-bomberger.com

                                             Daniel R. Karon
                                             KARON LLC
                                             700 W. St. Clair Ave., Suite 200
                                             Cleveland, OH 44113
                                             Tel.: 216.622.1851
                                             dkaron@karonllc.com

                                             Joseph Sauder
                                             SAUDER SCHELKOPF LLC
                                             555 Lancaster Avenue
                                             Berwyn, PA 19312
                                             (610) 200-0580
                                             (610) 421-1326
                                             jgs@sstriallawyers.com

                                             Counsel for the Gonzales Plaintiffs (Gonzales, et
                                             al., Case No. 2:23-cv-3051)


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                                             /s/Benjamin D. Bianco
                                             Mitchell Schuster, Esq. (pro hac vice forthcoming)
                                             Benjamin D. Bianco, Esq. (admitted pro hac vice)
                                             Meister Seelig & Fein PLLC
                                             125 Park Avenue, 7th Floor
                                             New York, New York 10017
                                             (212) 655-3500
                                             (212) 655-3535 (facsimile)
                                             ms@msf-law.com
                                             bdb@msf-law.com

                                             John C. Camillus, Trial Attorney (0077435)
                                             Law Offices of John C. Camillus, LLC
                                             P.O. Box 141410
                                             Columbus, Ohio 43214
                                             (614) 992-1000
                                             (614) 559-6731 (facsimile)
                                             jcamillus@camilluslaw.com

                                             Counsel for the John Doe Plaintiff (John Doe,
                                             Case No. 2:23-cv-02996)

                                             /s/Rocky Ratliff
                                             J.C. Ratliff (0027898)
                                             Rocky Ratliff (0089781)
                                             200 West Center Street
                                             Marion, Ohio 43302
                                             Telephone: 740.383.6023
                                             Facsimile: 740.383.2066
                                             attorney.ratliff@gmail.com
                                             attorneyrockyratliff@gmail.com

                                             Counsel for the Knight Plaintiffs (Knight, et al.
                                             Case No. 2:23-cv-02994)

                                             Richard W. Schulte (0066031) (Trial Attorney)
                                             Jacob A. Gebelle (0093528)
                                             WRIGHT & SCHULTE, LLC
                                             865 S. Dixie Dr.
                                             Vandalia, OH 45377
                                             (937) 435-7500
                                             (937) 435-7511 facsimile
                                             rschulte@yourlegalhelp.com
                                             jgebelle@yourlegalhelp.com


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                                             Dennis P Mulvihill
                                             Wright & Schulte, LLC
                                             31100 Pinetree Road
                                             Suite 225
                                             Ste 620
                                             Pepper Pike, OH 44124
                                             dmulvihill@yourlegalhelp.com

                                             Michael L Wright
                                             Steve Behnke
                                             Wright & Schulte, LLC
                                             130 W. Second Street, Suite 1600
                                             Dayton, OH 45402
                                             mwright@yourlegalhelp.com
                                             sbehnke@legaldayton.com

                                             Counsel for the Wright & Schulte Plaintiffs (John
                                             Does 162, et al., Case No. 2:23-cv-02991)


                                             /s/ Ilann M. Maazel
                                             Ilann M. Maazel (admitted pro hac vice)
                                             Debra L. Greenberger (admitted pro hac vice)
                                             Sonya Levitova (admitted pro hac vice)
                                             Ariadne M. Ellsworth (admitted pro hac vice)
                                             Emery Celli Brinckerhoff Abady Ward & Maazel
                                             LLP
                                             600 Fifth Avenue
                                             New York, New York 10020
                                             Phone: (212) 763-5000
                                             Fax: (212) 763-5001
                                             E-Mail: imaazel@ecbawm.com
                                             E-Mail: dgreenberger@ecbawm.com
                                             E-Mail: slevitova@ecbawm.com
                                             E-Mail: aellsworth@ecbawm.com

                                             Scott E. Smith (0003749)
                                             Scott Elliott Smith, LPA
                                             2727 Tuller Pkwy, Suite 140
                                             Dublin, Ohio 43017
                                             Phone: (614) 846-1700
                                             Fax: (614) 486-4987
                                             E-Mail:ses@sestriallaw.com

                                             Adele P. Kimmel (admitted pro hac vice)


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                                             Alexandra Z. Brodsky (admitted pro hac vice)
                                             Public Justice
                                             1620 L Street, NW, Suite 630
                                             Washington, DC 20036
                                             Phone: (202) 797-8600
                                             Fax: (202) 232-7203
                                             E-mail: akimmel@publicjustice.net
                                             E-mail: abrodsky@publicjustice.net

                                             Attorneys for Snyder-Hill Plaintiffs
                                             Joining for purposes of Part III only




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                                 CERTIFICATE OF SERVICE

        I certify that a copy of the foregoing was filed electronically on October 17, 2024. Notice

 was sent by operation of the Court’s electronic filing system to all other counsel who have entered

 an appearance and any parties who have entered an appearance through counsel. The parties may

 access this filing through the Court’s ECF system.




                                              /s/ Rex. A. Sharp




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